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                        IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
WILLIAM HARTZELL                        :
1081 Beverly Road                       :
Jenkintown, PA 19046                    :    CIVIL ACTION
                                        :
               Plaintiff,               :    NO.: 21-1873
                                        :
       v.                               :    JURY TRIAL DEMANDED
                                        :
ADAPTABLE SYSTEMS CORP. d/b/a           :
CORPORATE PAYROLL SERVICES              :
2 Neshaminy Interplex Drive, Suite 104  :
Feasterville-Trevose, PA 19053          :
                                        :
               Defendant.               :
____________________________________:

                      FIRST AMENDED CIVIL ACTION COMPLAINT

       William Hartzell (hereinafter referred to as “Plaintiff,”unless indicated otherwise) by and

through his undersigned counsel, hereby avers as follows:

                                        INTRODUCTION

       1.       Plaintiff has initiated this action to redress violations by Adaptable Systems Corp.

d/b/a Corporate Payroll Services (hereinafter “Defendant”) of the Families First Coronavirus

Response Act (“FFCRA”- Pub. L. No. 116-127, 134 Stat. 178 (2020)); the Fair Labor Standards

Act (“FLSA”- 29 U.S.C. § 201 et. seq.), and the Family and Medical Leave Act (“FMLA”- 29

U.S.C. §§ 2601 et. seq.). As a direct consequence of Defendant’s unlawful actions, Plaintiff

seeks damages as set forth herein.

                                 JURISDICTION AND VENUE

       2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and

seeks redress for violations of federal laws.
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        3.       This Court may properly assert personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.       Pursuant to 28 U.S.C. § 1392(b)(1) and (b)(2), venue is properly laid in this

district because Defendant is deemed to reside where it is subjected to personal jurisdiction,

rendering Defendant a resident of the Eastern District of Pennsylvania.

                                               PARTIES

        5.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        6.       Plaintiff is an adult individual, with an address as set forth in the caption.

        7.       Defendant Adaptable Systems Corp. d/b/a Corporate Payroll Services provides

payroll services for small to medium sized businesses in several states within the United States

(including Pennsylvania), with a location at the address set forth in the above-caption. Plaintiff

was employed through and worked out of this address.

        8.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the Defendant.

                                    FACTUAL BACKGROUND

        9.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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       10.     Plaintiff was employed with Defendant as an outside sales representative for

approximately 1 month, from on or about March 2, 2020, until his unlawful termination

(discussed further infra) on or about April 8, 2020.

       11.     During his employment with Defendant, Plaintiff was primarily supervised by

Sales Manager, Frank Fierle (hereinafter “Fierle”).

       12.     Throughout his employment with Defendant, Plaintiff was a hard-working

employee who performed his job well.

       13.     In or about mid-March of 2020, Defendant required the majority of its employees,

including Plaintiff, to work remotely as a result of the global COVID-19 pandemic.

       14.     While working remotely from his residence, Plaintiff was required by Defendant

to make 60 sales calls per hour.

       15.     On or about March 13, 2020, as a result of Pennsylvania Governor Tom Wolf’s

Executive Order, all schools were closed as a result of the COVID-19 pandemic, and Plaintiff’s

12-year-old daughter was required to stay home for the foreseeable future.

       16.     On April 1, 2020, the Families First Coronavirus Response Act (“FFCRA”)

became effective for all eligible employees through December 31, 2020.

       17.     The FFCRA provides for paid leave through the Emergency Paid Sick Leave Act

and the Emergency Family and Medical Leave Expansion Act to eligible employees who are

“unable to work (or telework) due to a need for leave to care for the son or daughter under 18

years of age of such employee if the school or place of care has been closed, or the child care

provider of such son or daughter is unavailable, due to a public health emergency”(such as the

COVID-19 pandemic). See FFCRA, §§ 3102(b), 5102(a) and (b)(A).

       18.     In or about early April of 2020, Plaintiff was having difficulty completing the

number of sales calls required by Defendant from home while caring for his 12-year-old-


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daughter.1

         19.      On or about April 8, 2020, in response to an email from Fierle reminding Plaintiff

of his aforesaid sales call quota, Plaintiff explained to Fierle that he was having difficulty

completing his sales calls while at the same time caring for his 12-year-old-daughter as a result

of her school closure. Plaintiff further asked Fierle if he could provide any assistance or if he

should reach out to Human Resources Director, George Sebastian (hereinafter “Sebastian”);

however, Fierle was unable to provide Plaintiff with any information.

         20.      Later that same day (April 8, 2020), Sebastian reached out to Plaintiff to inquire

about his lack of sales calls that morning, to which Plaintiff responded with the following:

         Yeah, I mean I was pretty much telling Frank. Like I’ve, I got two kids and
         everybody is working from home. . . Like, under these circumstances, obviously .
         . . I have a whole house here you know I got kids to take care of it’s just kind of
         distracting, so you know. I am reading the poster that we got sent out a week ago,
         I guess it was, and I was wondering if I fit under like the any of the circumstances
         here.
         … … ..

         So, I am wondering if I fit under, I guess, number 5 of the thing [poster].2

         21.      Plaintiff’s aforesaid inquiry about the “poster” that Defendant had provided a

week earlier (see Paragraph 20, supra) refers to the official Department of Labor (“DOL”)

FFCRA employee rights poster, attached hereto as Exhibit “A.” Specifically, “number 5”on the

DOL FFCRA poster presented to Plaintiff provides that “[a]n employee is entitled to take leave

related to COVID-19 if the employee is unable to work, including unable to telework, because




1
  Plaintiff is a single father and a primary caregiver for his daughter. Due to the COVID-19 pandemic, he had no
other child-care options.
2
  After Plaintiff filed his initial complaint, Defendant provided Plaintiff’s counsel with a transcript and recording of
the April 8, 2020 phone conversation between Plaintiff and Sebastian. Plaintiff is filing this First Amended
Complaint to more accurately depict this phone conversation. The foregoing quoted material in Paragraphs 20
through 26 is pulled directly from the aforementioned transcript.
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the employee . . . 5. is caring for his or her child whose school or place of care is closed (or

child care provider is unavailable) due to COVID-19 related reasons.”(Emphasis added).

       22.    In response to Plaintiff’s clear request for paid leave under the FFCRA, Sebastian

asked if Plaintiff was referring to paid sick leave, FMLA, or the CARES Act. Because the DOL

FFCRA poster provides only a one-page brief guide of employee rights and Plaintiff was

unfamiliar with the specific provisions of the FFCRA and the CARES Act, he responded to

Sebastian “I thought it was the CARES Act to be honest.”

       23.    In response to Plaintiff’s belief that he may be entitled to paid leave under the

CARES Act, Sebastian advised Plaintiff “the CARES Act talks about . . . the unemployment

laws,” which are “a little bit more flexible,” providing “$600 dollars above what you would

normally get for unemployment.”

       24.    Sebastian then inaccurately and improperly advised Plaintiff that with the

Expansion to the Family and Medical Leave Act (“EFMLA”) and Emergency Paid Family Sick

Leave (“EPFL) provisions of the FFCRA:

              Normally . . . you wouldn’t get paid for sick leave that says [] you get
              paid for your sick leave up to two weeks, up to 80 hours of time. But that
              would mean that would require that you get diagnosed with like a COVID
              19 or like you know somebody in your family.

       25.    Sebastian’s clear misinterpretation of the FFCRA provisions misled Plaintiff into

believing that he was not eligible for paid leave under the FFCRA despite the fact that he fit

squarely into the FFCRA provision that an employee who is “unable to work (or telework) due

to a need for leave to care for the son or daughter under 18 years of age of such employee if the

school or place of care has been closed, or the child care provider of such son or daughter is

unavailable, due to a public health emergency”(such as the COVID-19 pandemic) is eligible for

paid sick leave. See FFCRA, §§ 3102(b), 5102(a) and (b)(A).



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       26.    Notwithstanding Sebastian’s misleading Plaintiff about his rights under the

FFCRA, Plaintiff indicated his clear preference to retain his job and continue working for

Defendant, by stating during the April 8, 2020 phone conversation, “maybe we can make this

work”and “I don’t want to just quit.”

       27.    Later that same day, however, Plaintiff received an email from Sebastian that

provided a link to the FCCRA regulation but contained no specific provisions or details about the

Act.   Sebastian’s email further provided that Fierle would contact Plaintiff “to collect

[Plaintiff’s] company ipad/phone accessories etc.”and that Plaintiff should “please send him and

Heather the passcodes to the devices and passwords to your appleID on your ipad,”as well as his

“expense report for the month.”

       28.    Based on Sebastian’s aforesaid instructions, including the request that Plaintiff

return all company property (see Paragraph 27, supra), Plaintiff believed he had been

terminated/constructively terminated, on or about April 8, 2020, as a result of being unable to

work (or telework) due to having to take of his 12-year-old daughter because of school/child care

closure as a result of the COVID-19 pandemic and for exercising his rights under the FCCRA.

       29.    Plaintiff thereafter filed for unemployment, for which he was ultimately denied,

as a result of Defendant falsely informing the Pennsylvania Unemployment Department that

Plaintiff resigned from his employment with Defendant.

       30.    Despite being on notice that Plaintiff was unable to work because he had to care

for his 12-year-old daughter due to school/child care closures as a result of the COVID-19

pandemic, Defendant failed to offer Plaintiff emergency sick leave through the Emergency Paid

Sick Leave Act under the FFCRA.

       31.    Furthermore, despite being on notice that Plaintiff was unable to work because he

had to care for his 12-year-old daughter due to school/child care closures as a result of the


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COVID-19 pandemic, Defendant also misled and/or misinformed Plaintiff of his rights under the

FCCRA’s Emergency Family and Medical Leave Expansion Act.

       32.     As a result, Defendant failed to clearly follow proper notice, designation, and

informational regulations of the FFCRA/FMLA Expansion.

       33.     Plaintiff believes and therefore avers that Defendant willfully (1) misled and/or

misinformed him of his individualized FMLA/Emergency Family and Medical Leave Expansion

Act rights (established by FFCRA), which constitutes a failure to follow proper notice,

designation, and information regulations of the FMLA; (2) discouraged him from filing for

protected leave pursuant to the Emergency Paid Sick Leave Act and the Emergency Family and

Medical Leave Expansion Act under FFCRA beginning on or about April 8, 2020; (3) failed to

compensate    Plaintiff   his   regular    wages     for   said   qualifying    leave;     and   (4)

terminated/constructively terminated him in retaliation for exercising his rights under the

FFCRA (which incorporates the retaliation provisions of the FMLA and the FLSA).

                                          COUNT I
         Violations of the Families First Coronavirus Response Act (“FFCRA”) &
                          the Fair Labor Standards Act (“FLSA”)
                        ([1] Wrongful Termination & [2] Retaliation)

       34.     The foregoing paragraphs are incorporated herein as if set forth in full.

       35.     Effective April 1, 2020, the FFCRA provides for up to 80 hours of paid sick time

to eligible full-time employees who are unable to work or telework due to the effects of COVID-

19 through the Emergency Paid Sick Leave Act. See FFCRA, at §§ 5102(a) and (b)(A).

       36.     The FFCRA has expressly identified that enforcement of and all penalties arising

from violations of the Emergency Paid Sick Leave Act shall be governed by relevant sections of

the FLSA, as set forth in more detail below.

       37.     Defendant is engaged in an industry affecting commerce and employees, is a

private entity, and employs fewer than 500 employees. Id. at § 5110(2)(B)(aa).

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       38.     Plaintiff was an eligible employee as defined by Section 3(e) of the FLSA (29

U.S.C. § 203(e)), who had been “caring for a son or daughter of such employee if the school or

place of care of the son or daughter has been closed, or the child care provider of such son or

daughter is unavailable, due to COVID-19 precautions,”see the FFCRA, § 5102(a)(5).

       39.     Defendant knew/should have known that Plaintiff was an eligible employee

within the meaning of the FLSA and the FFCRA.

       40.     Plaintiff was eligible for/requested paid sick leave for the two-week period (from

in or about April 8, 2020 to on or about April 22, 2020) that he was unable to work due to caring

for his daughter as a result of school/child care closures related to the COVID-19 pandemic

(discussed supra).

       41.     It is unlawful for any employer to discharge, discipline, or in any other manner

discriminate against any employee who exercises his rights to “take leave in accordance with this

Act.” Id. at § 5104. “An employer who willfully violates section 5104 shall . . . be considered to

be in violation of section 15(a)(3) of the Fair Labor Standards Act of 1938 (29 U.S.C. §

215(a)(3)).” Id. at § 5105(b)(1).

       42.     Additionally, an employer who in any way disciplines, discriminates or retaliates

against, and/or discharges an employee in violation of this Act is subject to the penalties

described in sections 16 and 17 of the FLSA (29 U.S.C. § 216, 217) with respect to such

violation. Id. at § 5105(b)(2). Penalties under sections 16 and 17 of the FLSA include, but are

not limited to, lost wages, an equivalent amount of liquidated damages, and attorney’s fees and

costs. See FLSA, 29 U.S.C. § 216; 217.

       43.     Defendant willfully (1) misled and/or misinformed Plaintiff of his rights pursuant

to the Emergency Paid Sick Leave Act under the FFCRA; (2) discouraged him from filing for




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paid sick leave under the FFCRA when requested; and (3) terminated/constructively terminated

him in retaliation for his request for emergency paid sick leave pursuant to the FFCRA/FLSA.

        44.      These actions as aforesaid constitute violations of the FFCRA and the FLSA.

                                              COUNT II
              Violations of the Families First Coronavirus Response Act (“FFCRA”)
                         & the Family and Medical Leave Act (“FMLA”)
                                 ([1] Retaliation & [2] Interference)

        45.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        46.      Effective April 1, 2020, the FFCRA provides for paid leave through the

Emergency Family and Medical Leave Expansion Act to eligible employees who are “unable to

work (or telework) due to a need for leave to care for the son or daughter under 18 years of age

of such employee if the school or place of care has been closed, or the child care provider of such

son or daughter is unavailable, due to a public health emergency” (such as the COVID-19

pandemic). See FFCRA, § 3102(b).

        47.      The FFCRA has expressly identified that enforcement of and all penalties arising

from violations of the Emergency Family and Medical Leave Expansion Act shall be governed

by amendments to relevant sections of the FMLA, as set forth below.

        48.      Plaintiff was an eligible employee under the amended definitional terms of the

FMLA, as one “who has been employed for at least 30 calendar days by the employer with

respect to whom leave is requested under [29 U.S.C.A. § 2612 (a)(1)(F)].” Id. at § 3102(b).

        49.      Plaintiff requested leave for a “qualifying need related to a public health

emergency,”from his employer, with whom he had been employed for at least 30 calendar days.

Id.




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        50.      Defendant is engaged in an industry affecting commerce and employs fewer than

500 employees for each working day during each of 20 or more calendar workweeks in the

current or proceeding calendar year. Id.

        51.      Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A. § 2612 (a)(1)(F) for

a total of twelve (12) work weeks3 of leave on a block or intermittent basis. Id. at § 3102(a)(1).

        52.      After utilizing 10 days of leave under the Emergency Family and Medical Leave

Expansion Act, Plaintiff was entitled to paid leave for the remainder of the allotted 12 weeks.4

        53.      Plaintiff’s block time off to care for his daughter due to his daughter’s school

closure as a result of the COVID-19 pandemic beginning on or about April 8, 2020, constituted

FFCRA/FMLA-qualifying leave.

        54.      Plaintiff was clearly retaliated against in violation of the FFCRA/FMLA, as he

was terminated/constructively terminated after requesting FMLA-qualifying expanded leave to

care for his daughter whose school had been closed due to the COVID-19 pandemic.

        55.      Defendant committed interference and retaliation violations of the FFCRA/FMLA

by: (1) terminating/constructively terminating Plaintiff for requesting and/or exercising his

FFCRA/FMLA rights and/or for taking FMLA-qualifying leave; (2) considering Plaintiff’s

FFCRA/FMLA leave needs in making the decision to terminate him; (3) misleading and/or

misinforming Plaintiff of his individualized FFCRA/FMLA rights, which constitutes a failure to

follow proper notice, designation, and information regulations of the FMLA; (4)

terminating/constructively terminating Plaintiff to intimidate him and/or prevent him from taking

FFCRA/FMLA-qualifying leave in the future; and (5) making negative comments and/or taking


3
  If an employee is eligible for and utilizes leave under the Emergency Paid Sick Leave provision of the FFCRA set
forth in Count I, the employee’s leave entitled under FMLA Expansion provision of the FFCRA is reduced to 10
work weeks of leave on a block or intermittent basis following the two weeks Emergency Paid Sick Leave.
4
  “The first 10 days for which an employee takes leave under [29 U.S.C.A. § 2612 (a)(1)(F)] may consist of unpaid
leave.”Id. at § 3102(b).
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actions towards Plaintiff that would dissuade a reasonable person from exercising his rights

under the FFCRA/FMLA.

        56.    These actions as aforesaid constitute violations of the FFCRA and the FMLA.

                                         COUNT III
          Violations of the Families First Coronavirus Response Act (“FFCRA”) &
                            the Fair Labor Standards Act (“FLSA”)
                                       (Unpaid Wages)

        57.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        58.    Plaintiff was eligible for/requested paid sick leave for the two-week period (from

in or about April 8, 2020 to on or about April 22, 2020) that he was unable to work due to caring

for his daughter as a result of school/child care closures related to the COVID-19 pandemic

(discussed supra), pursuant to FFCRA’s Emergency Paid Leave Act.

        59.    Defendant was required to pay Plaintiff’s “regular rate of pay up to $511 per day,

and $5,110.00 in the aggregate”for the two-week emergency paid sick leave period due COVID-

19 concerns pursuant to FFCRA’s Emergency Paid Sick Leave Act.                    See FFCRA, §

5110(5)(A)(ii)(I).

        60.    Plaintiff was also eligible for/requested up to 12 weeks of paid leave pursuant to

FFCRA’s Emergency Family and Medical Leave Expansion Act (discussed supra) because he

was unable to work due to caring for his daughter as a result of school/child care closures related

to the COVID-19 pandemic.

        61.    After utilizing 10 days of leave under FFCRA’s Emergency Family and Medical

Leave Expansion Act, Plaintiff was entitled to paid leave for the remainder of the allotted 12

weeks (discussed supra), in “an amount that is not less than two-thirds of an employee’s regular

rate of pay (as determined under section 7(e) of the [FLSA]),”and not to “exceed $200 per day

and $10,000 in the aggregate.”Id. at § 3102(a)(1).

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       62.     An employer who fails to pay an employee wages under the FFCRA is

“considered to have failed to pay minimum wages in violation of section 6 of the FLSA (29

U.S.C. § 206).” Id. at § 5105(a)(1).

       63.     Defendant failed to pay Plaintiff any of the above required wages (see Paragraphs

52 and 54, supra) under FFCRA’s Emergency Sick Leave Act and Emergency Family and

Medical Leave Expansion Act.

       64.     As a result of Defendant’s willful failure to pay Plaintiff the aforesaid

compensation due him, Defendant violated the FFCRA and the FLSA and caused Plaintiff to

suffer damages in the form of unpaid wages.

       65.     These actions as aforesaid constitute violations of the FFCRA and the FLSA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendant is to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff

whole for any and all pay and benefits Plaintiff would have received had it not been for

Defendant’s illegal actions, including but not limited to back pay, front pay, salary, pay

increases, bonuses, insurance, benefits, training, promotions, reinstatement and seniority;

       C.      Plaintiff is to be awarded liquidated damages, as permitted by applicable law, in

an amount believed by the Court or trier of fact to be appropriate to punish Defendant for its

willful, deliberate, malicious and outrageous conduct and to deter Defendant or other employers

from engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain,

suffering and humiliation);


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       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law; and

       F.      Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.

                                              Respectfully submitted,

                                              KARPF, KARPF & CERUTTI, P.C.

                                              /s/ Adam C. Lease
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Dated: June 16, 2021




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